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                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA

INDIA BUTLER              *                         CIVIL ACTION
ET, AL.                   *
               Plaintiffs *                         NO. 18-10053
                          *
VERSUS                    *                         SECTION “M(5)”
                          *
MARLIN N. GUSMAN,         *                         MAGISTRATE: Michael North
ET, AL.                   *
               Defendants *
***************************

                      ANSWER, AFFIRMATIVE DEFENSES,
                       AND DEMAND FOR JURY TRIAL

       NOW INTO COURT, through undersigned counsel, comes Correct Care

Solutions, LLC (“Defendant”), and for its Answer, Affirmative Defenses, and Demand

for Jury Trial sets forth the following in response to Plaintiffs’ Complaint and First

Amended Complaint:

                                  I. BACKGROUND

       1.     The allegations of paragraph 1 of the Complaint are denied.

       2.     The allegations of paragraph 2 of the Complaint are denied.

       3.     The allegations of paragraph 3 of the Complaint are denied.

                                     II. JURISDICTION

       4.     Defendant does not contest jurisdiction in the Eastern District.
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                                            III. PARTIES

        5.      The allegations of paragraph 5 of the Complaint are admitted only as to

the status of CCS. All remaining allegations of paragraph 5 are not directed toward this

Defendant and, therefore, no response is required. To the extent a response is required,

the allegations are denied. Defendant expressly demands proof of Plaintiff’s capacity to

pursue the matter as the mother of the alleged surviving children.

                                             IV. FACTS

        6.      The allegations of paragraph 6 of the Complaint are denied for lack of

sufficient information to justify a belief therein.

        7.      The allegations of paragraph 7 of the Complaint are denied.

        8.      The allegations of paragraph 8 of the Complaint are denied.

        9.      The allegations of paragraph 9 of the Complaint are denied.

        10.     The allegations of paragraph 10 of the Complaint are denied.

        11.     The allegations of paragraph 11 of the Complaint are denied.

        12.     The allegations of paragraph 12 of the Complaint are denied.

        13.     The allegations of paragraph 13 of the Complaint are denied.

        14.     The allegations of paragraph 14 of the Complaint are denied except to

admit that the CCS employees provided care to the inmate.

        15.     Defendant admits Mr. Mealey received medication in response to

paragraph 15 of the Complaint.

        16.     The allegations of paragraph 16 of the Complaint are denied.




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        17.       The allegations of paragraph 17 of the Complaint are denied, except to

admit that the CCS employees provided care to the inmate.

        18.       The allegations of paragraph 18 of the Complaint are denied.

        19.       The allegations of paragraph 19 of the Complaint are denied.

        20.       The allegations of paragraph 20 of the Complaint are denied for lack of

sufficient information to justify a belief therein.

        21.       The allegations of paragraph 21 of the Complaint are denied.

        22.       The allegations of paragraph 22 of the Complaint are denied.

        23.       Defendant admits Mealey passed away. The remaining allegations of

paragraph 23 of the Complaint are denied for lack of sufficient information to justify a

belief therein.

        24.       The allegations of paragraph 24 of the Complaint are denied.

        25.       The allegations of paragraph 25 of the Complaint are denied.

        26.       The allegations of paragraph 26 of the Complaint are denied.

        27.       The allegations of paragraph 27 of the Complaint are denied.

        28.       The allegations of paragraph 28 of the Complaint are denied.

        29.       The allegations of paragraph 29 of the Complaint are denied.

        30.       The allegations of paragraph 30 of the Complaint are denied.

        31.       The allegations of paragraph 31 of the Complaint are denied.

        32.       The allegations of paragraph 32 of the Complaint are not directed toward

this Defendant and, therefore, no response is required. To the extent a response is

required, the allegations of paragraph 32 of the Complaint are denied.



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       33.     The allegations of paragraph 33 of the Complaint are not directed toward

this Defendant and, therefore, no response is required. To the extent a response is

required, the allegations of paragraph 33 of the Complaint are denied.

       34.     The allegations of paragraph 34 of the Complaint are not directed toward

this Defendant and, therefore, no response is required. To the extent a response is

required, the allegations of paragraph 34 of the Complaint are denied

       35.     The allegations of paragraph 35 of the Complaint are denied.

       36.     The allegations of paragraph 36 of the Complaint are denied.

       37.     The allegations of paragraph 37 of the Complaint are denied.

       38.     The allegations of paragraph 38 of the Complaint are not directed toward

this Defendant and, therefore, no response is required. To the extent a response is

required, the allegations of paragraph 38 of the Complaint are denied

       39.     The allegations of paragraph 39 of the Complaint are denied.

       40.     The allegations of paragraph 40 of the Complaint are not directed toward

this Defendant and, therefore, no response is required. To the extent a response is

required, the allegations of paragraph 40 of the Complaint are denied

       41.     The allegations of paragraph 41 of the Complaint are denied.

       42.     The allegations of paragraph 42 of the Complaint are not directed toward

this Defendant and, therefore, no response is required. To the extent a response is

required, the allegations of paragraph 42 of the Complaint are denied

       43.     The allegations of paragraph 43 of the Complaint are denied.

       44.     The allegations of paragraph 44 of the Complaint are denied.



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       45.     The allegations of paragraph 45 of the Complaint are denied.

       46.     The allegations of paragraph 46 of the Complaint are denied.

       47.     The allegations of paragraph 47 of the Complaint are denied for lack of

sufficient information to justify a belief therein. Defendant demands strict proof of

Plaintiff’s capacity to proceed and the inmate’s alleged relation to the children.

       48.     The allegations of paragraph 48 of the Complaint are not directed toward

this Defendant and, therefore, no response is required. To the extent a response is

required, the allegations of paragraph 48 of the Complaint are denied.               Defendant

demands strict proof of Plaintiff’s capacity to proceed.

       49.     The allegations of paragraph 49 of the Complaint require no response of

this Defendant. To the extent a response is required, the allegations of paragraph 49 of

the Complaint are denied.

       50.     The allegations of paragraph 50 of the Complaint require no response of

this Defendant. To the extent a response is required, the allegations are denied.

                                V. FIRST CAUSE OF ACTION

       51.     The allegations of paragraph 51 of the Complaint do not appear to require

a response. To the extent a response is required, the allegations are denied.

       52.     The allegations of paragraph 52 of the Complaint are denied.

       53.     The allegations of paragraph 53 of the Complaint are denied.

       54.     The allegations of paragraph 54 of the Complaint are denied.

       55.     The allegations of paragraph 55 of the Complaint are denied.

       56.     The allegations of paragraph 56 of the Complaint are denied.



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       57.     The allegations of paragraph 57 of the Complaint are denied.

                              VI. SECOND CAUSE OF ACTION

       58.     The allegations of paragraph 58 of the Complaint do not appear to require

a response. To the extent a response is required, the allegations are denied.

       59.     The allegations of paragraph 59 of the Complaint are denied.

       60.     The allegations of paragraph 60 of the Complaint are denied.

       61.      The allegations of paragraph 61 of the Complaint are denied.

       62.     The allegations of paragraph 62 of the Complaint are denied.

                               VII. THIRD CAUSE OF ACTION

       63.     The allegations of paragraph 63 of the Complaint do not appear to require

a response. To the extent a response is required, the allegations are denied.

       64.     Defendant does not contest jurisdiction in the Eastern District at this time.

       65.     The allegations of paragraph 65 of the Complaint are denied.

       66.     The allegations of paragraph 66 of the Complaint are denied.

       67.     The allegations of paragraph 67 of the Complaint are denied.

       68.     The allegations of paragraph 68 of the Complaint are denied.

       69.     The allegations of paragraph 69 of the Complaint are denied.

                                    VIII. DAMAGES

       70.     The allegations of paragraph 70 of the Complaint are denied.

                              IX. PRAYER FOR RELIEF

       71.     The allegations of Plaintiffs’ prayer for relief are denied.




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                                FIRST AMENDED COMPLAINT

                                          I. BACKGROUND

          72.   The allegations of paragraph 1 of the First Amended Complaint are

denied.

          73.   The allegations of paragraph 2 of the First Amended Complaint are

denied.

          74.   The allegations of paragraph 3 of the First Amended Complaint are

denied.

                                  II.          JURISDICTION

          75.   Defendant does not contest jurisdiction in the Eastern District.

                                        III.     PARTIES

          76.   The allegations of paragraph 5 of the First Amended Complaint are

admitted only as to the status of CCS. All remaining allegations of paragraph 5 are not

directed toward this Defendant and, therefore, no response is required. To the extent a

response is required, the allegations are denied. Defendant expressly demands proof of

Plaintiff’s capacity to pursue the matter as the mother of the alleged surviving children.

                                         IV.      FACTS

          77.   The allegations of paragraph 6 of the First Amended Complaint are denied

for lack of sufficient information to justify a belief therein.

          78.   The allegations of paragraph 7 of the First Amended Complaint are

denied.




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          79.   The allegations of paragraph 8 of the First Amended Complaint are

denied.

          80.   The allegations of paragraph 9 of the First Amended Complaint are

denied.

          81.   The allegations of paragraph 10 of the First Amended Complaint are

denied.

          82.   The allegations of paragraph 11 of the First Amended Complaint are

denied.

          83.   The allegations of paragraph 12 of the First Amended Complaint are

denied.

          84.   The allegations of paragraph 13 of the First Amended Complaint are

denied.

          85.   The allegations of paragraph 14 of the First Amended Complaint are

denied except to admit that the CCS employees provided care to the inmate.

          86.   Defendant admits Mr. Mealey received medication in response to

paragraph 15 of the First Amended Complaint.

          87.   The allegations of paragraph 16 of the First Amended Complaint are

denied.

          88.   The allegations of paragraph 17 of the First Amended Complaint are

denied, except to admit that the CCS employees provided care to the inmate.

          89.   The allegations of paragraph 18 of the First Amended Complaint are

denied.



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          90.   The allegations of paragraph 19 of the First Amended Complaint are

denied.

          91.   The allegations of paragraph 20 of the First Amended Complaint are

denied for lack of sufficient information to justify a belief therein.

          92.   The allegations of paragraph 21 of the First Amended Complaint are

denied.

          93.   The allegations of paragraph 22 of the First Amended Complaint are

denied.

          94.   Defendant admits Mealey passed away. The remaining allegations of

paragraph 23 of the First Amended Complaint are denied for lack of sufficient

information to justify a belief therein.

          95.   The allegations of paragraph 24 of the First Amended Complaint are

denied.

          96.   The allegations of paragraph 25 of the First Amended Complaint are

denied.

          97.   The allegations of paragraph 26 of the First Amended Complaint are

denied.

          98.   The allegations of paragraph 27 of the First Amended Complaint are

denied.

          99.   The allegations of paragraph 28 of the First Amended Complaint are

denied.




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          100.   The allegations of paragraph 29 of the First Amended Complaint are

denied.

          101.   The allegations of paragraph 30 of the First Amended Complaint are

denied.

          102.   The allegations of paragraph 31 of the First Amended Complaint are

denied

          103.   The allegations of paragraph 32 of the First Amended Complaint are not

directed toward this Defendant and, therefore, no response is required. To the extent a

response is required, the allegations of paragraph 32 of the First Amended Complaint are

denied.

          104.   The allegations of paragraph 33 of the First Amended Complaint are not

directed toward this Defendant and, therefore, no response is required. To the extent a

response is required, the allegations of paragraph 33 of the First Amended Complaint are

denied.

          105.   The allegations of paragraph 34 of the First Amended Complaint are not

directed toward this Defendant and, therefore, no response is required. To the extent a

response is required, the allegations of paragraph 34 of the First Amended Complaint are

denied

          106.   The allegations of paragraph 35 of the First Amended Complaint are

denied.

          107.   The allegations of paragraph 36 of the First Amended Complaint are

denied.



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          108.   The allegations of paragraph 37 of the First Amended Complaint are

denied.

          109.   The allegations of paragraph 38 of the First Amended Complaint are not

directed toward this Defendant and, therefore, no response is required. To the extent a

response is required, the allegations of paragraph 38 of the First Amended Complaint are

denied

          110.   The allegations of paragraph 39 of the First Amended Complaint are

denied.

          111.   The allegations of paragraph 40 of the First Amended Complaint are not

directed toward this Defendant and, therefore, no response is required. To the extent a

response is required, the allegations of paragraph 40 of the First Amended Complaint are

denied

          112.   The allegations of paragraph 41 of the First Amended Complaint are

denied.

          113.   The allegations of paragraph 42 of the First Amended Complaint are not

directed toward this Defendant and, therefore, no response is required. To the extent a

response is required, the allegations of paragraph 42 of the First Amended Complaint are

denied

          114.   The allegations of paragraph 43 of the First Amended Complaint are

denied.

          115.   The allegations of paragraph 44 of the First Amended Complaint are

denied.



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          116.   The allegations of paragraph 45 of the First Amended Complaint are

denied.

          117.   The allegations of paragraph 46 of the First Amended Complaint are

denied.

          118.   The allegations of paragraph 47 of the First Amended Complaint are

denied for lack of sufficient information to justify a belief therein. Defendant demands

strict proof of Plaintiff’s capacity to proceed and the inmate’s alleged relation to the

children.

          119.   The allegations of paragraph 48 of the First Amended Complaint are not

directed toward this Defendant and, therefore, no response is required. To the extent a

response is required, the allegations of paragraph 48 of the First Amended Complaint are

denied. Defendant demands strict proof of Plaintiff’s capacity to proceed.

          120.   The allegations of paragraph 49 of the First Amended Complaint require

no response of this Defendant. To the extent a response is required, the allegations of

paragraph 49 of the First Amended Complaint are denied.

          121.   The allegations of paragraph 50 of the First Amended Complaint require

no response to this Defendant. To the extent a response is required, the allegations are

denied.

                             V. FIRST CAUSE OF ACTION

          122.   The allegations of paragraph 51 of the First Amended Complaint do not

appear to require a response. To the extent a response is required, the allegations are

denied.



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          123.   The allegations of paragraph 52 of the First Amended Complaint are

denied.

          124.   The allegations of paragraph 53 of the First Amended Complaint are

denied.

          125.   The allegations of paragraph 54 of the First Amended Complaint are

denied.

          126.   The allegations of paragraph 55 of the First Amended Complaint are

denied.

          127.   The allegations of paragraph 56 of the First Amended Complaint are

denied.

          128.   The allegations of paragraph 57 of the First Amended Complaint are

denied.

                          VI. SECOND CAUSE OF ACTION

          129.   The allegations of paragraph 58 of the First Amended Complaint do not

appear to require a response. To the extent a response is required, the allegations are

denied.

          130.   The allegations of paragraph 59 of the First Amended Complaint are

denied.

          131.   The allegations of paragraph 60 of the First Amended Complaint are

denied.

          132.   The allegations of paragraph 61 of the First Amended Complaint are

denied.



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          133.   The allegations of paragraph 62 of the First Amended Complaint are

denied.

                             VII. THIRD CAUSE OF ACTION

          134.   The allegations of paragraph 63 of the First Amended Complaint do not

appear to require a response. To the extent a response is required, the allegations are

denied.

          135.   Defendant does not contest jurisdiction in the Eastern District at this time.

          136.   The allegations of paragraph 65 of the First Amended Complaint are

denied.

          137.   The allegations of paragraph 66 of the First Amended Complaint are

denied.

          138.   The allegations of paragraph 67 of the First Amended Complaint are

denied.

          139.   The allegations of paragraph 68 of the First Amended Complaint are

denied.

          140.   The allegations of paragraph 69 of the First Amended Complaint are

denied.

                                      VIII. DAMAGES

          141.   The allegations of paragraph 70 of the First Amended Complaint are

denied.

                                IX. PRAYER FOR RELIEF

          142.   The allegations of Plaintiffs’ prayer for relief are denied.



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                               AFFIRMATIVE DEFENSES

          143.   Plaintiff has failed to state a claim upon which relief can be granted.

          144.   Any damage alleged by Plaintiff was caused or contributed to by

Plaintiff’s and/or decedent’s fault or want of due care and any recovery should be

precluded.

          145.   Any damage alleged by Plaintiff was caused or contributed to by the fault,

negligence or want of due care, breach of contract, express or implied, of other persons,

businesses, entities or corporations for whom this Defendant are not legally responsible.

          146.   In the alternative, if it is found that damages complained of were caused or

contributed to by the fault of this Defendant, which is specifically denied, Defendant

plead the comparative fault of Plaintiff and/or decedent and/or other persons, businesses,

entities, or corporations for whom this Defendant are not legally responsible, and this

Defendant is entitled to have any reward or recovery due Plaintiffs mitigated or reduced

accordingly.

          147.   Defendant pleads all benefits and immunities afforded to it pursuant to La.

R.S. 9:2798.1 for their discretionary acts made within the course and scope of their

duties.

          148.   Defendant pleads all benefits and immunities afforded to it pursuant to La.

R.S. 13:5106, expressly including, but in no way limited to the statutory limitation of

damages contained therein.




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       149.    Defendant further pleads that if Plaintiff is entitled to any recovery, which

this Defendant specifically denies, the costs and interest awarded will be fixed pursuant

to La. R.S. 13:5112.

       150.    Defendant further pleads that no claim is available to Plaintiff for the

alleged violation of Civil Rights of Plaintiff as all Policies, Procedures and Protocols put

in place were appropriate.

       151.    Defendant further pleads all available defenses and protections of

sovereign, absolute, and/or qualified immunity under Louisiana or Federal law.

       152.    Plaintiff has failed to mitigate any and all damages she claims are due and

as a result any recovery shall be reduced or limited accordingly.

       153.    Plaintiff is not entitled to recover punitive damages or attorneys’ fees.

       154.    Defendant has no involvement, interaction, or dealings with the OPSO in

connection with the original consent judgment alleged by Plaintiff.

       155.    Defendant further pleads that it is entitled to all benefits of the Louisiana

Medical Malpractice Act, La. R.S. 40:1231.1 et seq. by virtue of the qualified status of its

employed providers.

       156.    Plaintiff lacks the standing or capacity to bring the instant lawsuit.

       157.    This Defendant demands a trial by jury.

       158.    WHERFORE, Defendant prays that its answer be deemed good and

sufficient and that after due proceedings are had, there be judgment in its favor,

dismissing all claims asserted by Plaintiff, with prejudice, at Plaintiff’s cost and for any

and all other just and equitable relief. Defendant demands a trial by jury.



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                                          Respectfully Submitted,

                                          FRILOT L.L.C.

                                          /S/ Carl E. Hellmers, III     _
                                          CARL E. HELLMERS, III (25705)
                                          D. BURKE STOUGH (#36688)
                                          1100 Poydras Street, Suite 3700
                                          New Orleans, Louisiana 70163
                                          Phone: (504) 599-8035
                                          Facsimile: (504) 599-8156
                                          Attorneys for Defendant,
                                          Correct Care Solutions


                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 19th day of February 2019, I have filed a copy

of the foregoing pleading with the CM/ECF system, which will send notice of electronic

filing to all counsel of record.



                                          /S/ Carl E. Hellmers, III     _




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